Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 1 of 62
                                                                       1




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

 ***************************
 UNITED STATES OF AMERICA,
          Plaintiff

 vs.                                    Case No. 3:16-cr-30044-MGM-1

 ALBERTO MARTE,
          Defendant
 ***************************
 UNITED STATES OF AMERICA,
          Plaintiff

 vs.                                    Case No. 3:16-cr-30044-MGM-8

 JUAN PEREZ,
          Defendant
 ***************************


                  TRANSCRIPT OF EVIDENTIARY HEARING
             BEFORE THE HONORABLE KATHERINE A. ROBERTSON
                    AT SPRINGFIELD, MASSACHUSETTS
                         ON AUGUST 21, 2018


 APPEARANCES:

 For the Government:
 Neil L. Desroches, Assistant United States Attorney
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Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 2 of 62
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 APPEARANCES (continued):

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Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 3 of 62
                                                                           3




                                 I N D E X

 Witness:                          Direct    Cross     Redirect   Recross

 Special Agent John Barron
 (By Mr. Bongiorni)                  8                    44
                                                          51
 (By Mr. Desroches)                             33                   50




                             E X H I B I T S
 No.                                                                Page

                                  None.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 4 of 62
                                                                               4




 1                             P R O C E E D I N G S

 2

 3                THE CLERK:   The matter of the United States of America

 4    versus Juan Perez and Alberto Marte, Criminal Case No.

 5    16-30044.

 6                THE COURT:   Alright.   So I have a motion by -- well,

 7    first let me swear in the interpreter.

 8                THE CLERK:   Yes, your Honor.

 9                (The Interpreter was sworn.)

10                THE COURT:   So I have a motion on behalf of Mr. Marte

11    to join in -- I assume it's a Motion to Join in Motion No. 521

12    that was filed on behalf of Mr. Perez.         I'm going to grant that

13    motion.

14                MR. BONGIORNI:    Thank you.

15                THE COURT:   I do want to talk to you, Mr. O'Donald,

16    later.    We'll have just a brief conversation later.

17                MR. O'DONALD:    Thank you.

18                THE COURT:   So this is an evidentiary hearing at the

19    request of the defendants, Mr. Perez and Mr. Marte, as to the

20    existence or nonexistence of a joint investigation between the

21    government of the Dominican Republic and the DEA.          I wanted to

22    raise one other point before we get started.

23                Let me ask you, Mr. Desroches, I believe that there is

24    a separate motion pending on behalf of Mr. Perez and Mr. Marte,

25    possibly other defendants, concerning the identity of a
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 5 of 62
                                                                                 5




 1    confidential informant; is that correct?

 2               MR. DESROCHES:    That is -- well --

 3               THE COURT:    What is the status of that motion?

 4               MR. DESROCHES:    Just to be clear, the motion is in

 5    regards to the defendant receiving an unredacted affidavit.               So

 6    the defendant asserts that it's related to the identity of a

 7    confidential informant.      The Government has filed responses.

 8    But that is pending.      We have a status of August 29th before

 9    Judge Mastroianni.

10               THE COURT:    Alright.   But it has not been ruled on.

11               The only reason I'm raising this is I just would want

12    the parties to be vigilant.       I'm not going to permit any

13    questions this morning that would -- as long as that motion

14    remains unresolved and there is this question pending about the

15    identity of a confidential informant, I don't want questions

16    posed to any witness today that would have a bearing on the

17    identity of a confidential informant.        I don't think it's

18    relevant to the question here.        So I just would ask that you

19    both be vigilant in that respect.

20               Is that understood, Mr. Bongiorni?

21               MR. BONGIORNI:    It is.

22               THE COURT:    You can address it, yeah.

23               MR. BONGIORNI:    I do want to -- there are individuals

24    who are referenced in the affidavit of Agent Barron.             Not in

25    the affidavit that he filed as part of your order, but within
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 6 of 62
                                                                              6




 1    the affidavit.     I think the Government --

 2               THE COURT:    Within what affidavit?

 3               MR. BONGIORNI:    The initial affidavit for the wiretap,

 4    and some of the references make reference to the Dominican

 5    wiretap as well.     I think the Government's issue is, the

 6    Government at least is -- and I don't want to speak for

 7    Mr. Desroches, but I think what he's trying to say is the

 8    Government is not prepared to admit or deny that anybody is a

 9    confidential informant at this point, and what we have moved

10    for before Judge Mastroianni is to be provided with a complete

11    copy of the application that was provided to him.          We've had

12    two statuses.     Judge Mastroianni ordered the Government to file

13    a redacted version of its response and provide it to me.         I

14    then filed an opposition, and we now have a status with respect

15    to just that -- I think just that issue, as to wether or not

16    the Government's redacted submission to me is sufficient for us

17    to go forward.

18               THE COURT:    Is sufficient.

19               Well, so let me put it this way.       Let me just say that

20    to the extent that there are -- if there is a question posed

21    that causes concern about anybody's safety, so to speak, I just

22    would want to hear an objection.        And to the extent that the

23    Court need -- you know, that counsel wants to be heard, I could

24    hear you at sidebar if that was important.         But I don't -- you

25    know, given that we're talking about two affidavits filed by
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 7 of 62
                                                                             7




 1    the same agent, the affidavit that was filed in response to my

 2    request for additional information related to the Dominican

 3    wiretap, and an affidavit that was filed in support of the

 4    Title 3 application, I just want to make sure that we don't --

 5               MR. BONGIORNI:    Overlap.

 6               THE COURT:    Overlap, yeah.

 7               MR. DESROCHES:    Yes, your Honor.

 8               THE COURT:    Okay.   So vigilance.    Thank you.

 9               Alright.   So this is the defendant's motion and it's

10    an evidentiary hearing that we've convened at the defendant's

11    request.

12               MR. BONGIORNI:    Right.

13               THE COURT:    So I will let the defendants move forward

14    and call their witness or witnesses.

15               MR. BONGIORNI:    I'm going to call Agent Barron since

16    he was the author of the affidavit.        I'd only ask that if the

17    Government intends to call any other witnesses, that we have an

18    agreement with respect to a sequestration.

19               MR. DESROCHES:    There's no other witnesses, your

20    Honor.

21               THE COURT:    There are no other witnesses.      Alright.

22    Fine.

23               So Agent Barron.

24               (The Witness was sworn.)

25               (Pause.)
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 8 of 62
                                                                               8




 1               MR. BONGIORNI:    Are we all set, may I proceed?

 2               THE COURT:    No, let's wait a minute.       Just a minute.

 3               MR. BONGIORNI:    Wait a minute.     Okay.

 4               THE COURT:    Alright.   That's fine.    Thank you,

 5    Mr. Bongiorni.

 6               MR. BONGIORNI:    Thank you.

 7               DIRECT EXAMINATION OF SPECIAL AGENT JOHN BARRON

 8    BY MR. BONGIORNI:

 9    Q.    Good morning, Agent Barron.

10    A.    Good morning, Mr. Bongiorni.

11    Q.    I want to direct your attention to an affidavit that you

12    filed in response to the Court's order in this case that is

13    dated sometime in February of -- February 14, 2018.

14               Do you remember executing that affidavit?

15    A.    I do.

16               THE COURT:    Could I stop you just for a minute and ask

17    whether either of the parties have a spare copy of that

18    affidavit.    I would --

19               MR. BONGIORNI:    I may.

20               THE COURT:    We can print one out if we don't have one,

21    but I did not happen to bring one up to the courtroom with me

22    and I think it would be helpful.

23               MR. BONGIORNI:    I have one right here, Judge, if you'd

24    like it.

25               THE COURT:    Thank you.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 9 of 62
                                                                           9




 1               MR. BONGIORNI:      (Inaudible) multiple copies.

 2               (Inaudible) do you want me to write on it?

 3               THE COURT:    No.   Thank you.   No.   Thank you very much.

 4               Alright.   Go ahead, Mr. Bongiorni.      I apologize.

 5               MR. BONGIORNI:      Sure.

 6    BY MR. BONGIORNI:

 7    Q.    You were asked, were you not, to provide some written

 8    answers to a series of question that the Court had ordered the

 9    Government to respond to?

10    A.    Yes, I was.

11    Q.    Now, your involvement in the Marte investigation began in

12    January of 2016?

13    A.    That is correct.

14    Q.    And the topic that you were providing information on was a

15    wiretap in the Dominican Republic that took place approximately

16    some eight or nine months before you became involved in this

17    investigation?

18    A.    I believe it was about a year, yes.

19    Q.    So the wiretap that you were asked to make comments about

20    took place or began about a year prior to your executing -- to

21    your becoming involved with the Marte investigation; is that

22    fair to say?

23    A.    Yes, sir.

24    Q.    Your involvement in the Marte investigation, was that a

25    referral from another department or another resident office
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 10 of 62
                                                                        10




 1     within DEA?

 2     A.    It was a little bit of both.      It was a little bit of

 3     information that I gathered here on my own and then a little

 4     bit of information that came from another office.

 5     Q.    And at some time in January, did you receive information

 6     from the field district in New York?

 7     A.    I did.

 8     Q.    Did that information include the existence of the

 9     Dominican wiretap, in other words, when you got the information

10     in January, did whoever provided you with that information, and

11     I presume it was a DEA agent in New York?

12     A.    It was.

13     Q.    Were you provided information about the existence of the

14     Dominican wiretap?

15     A.    At that time, I was not.

16     Q.    So when would you say it was that you first learned about

17     the Dominican wiretap?

18     A.    It would be an estimation, but I would think several weeks

19     to a month into my investigation.

20     Q.    You authored an affidavit in this case as part of a

21     Title 3 order that was dated on April 15th of 2016, is that

22     correct, in terms of the chronology?

23     A.    I thought the date was a little later in April, but around

24     the middle of April, yes.

25     Q.    Would you agree with me just generally that that affidavit
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 11 of 62
                                                                             11




 1     in support of the T3 order references the Dominican wiretap?

 2     A.    It does.

 3     Q.    So you would have learned about the Dominican wiretap

 4     sometime between being first alerted by the New York Field

 5     Office in January 2016 and the date in April when you authored

 6     the wiretap?

 7               MR. DESROCHES:      Objection, your Honor, to the form of

 8     the questioning.     I believe these have all been leading

 9     questions and it is his witness.

10               THE COURT:    It is his witness.     It's an evidentiary

11     hearing, it's not a trial.      I think I'm going to permit leading

12     questions.

13               MR. BONGIORNI:      I'm trying to make it go quickly.   I

14     know Mr. Desroches would like to see this stretch out for

15     hours, but I'm going to try to get to the point.

16               THE COURT:    No.   I'm going to permit some leading

17     questions.

18               If you think that there's a misrepresentation here, if

19     you think it's in some form --

20               MR. DESROCHES:      Yes, your Honor.

21               THE COURT:    I will listen to that objection.

22               Go ahead, Mr. Bongiorni.

23     BY MR. BONGIORNI:

24     Q.    So the time period that I just referenced for you, the

25     time period you first learned about the Dominican wiretap, was
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 12 of 62
                                                                          12




 1     sometime between January of 2016 and April of 2016?

 2     A.    That's correct.

 3     Q.    Did you attend a meeting in March of 2016 with agents from

 4     the Special Operations Division and the New York, Puerto Rico

 5     and New England Field Offices?

 6     A.    Yes.

 7     Q.    Would that have been -- that would have been in the month

 8     of March?

 9     A.    I believe so.

10     Q.    So did the individuals who were present at that meeting,

11     were they known to you?

12     A.    Some were and some were not.

13     Q.    Was the topic of the Dominican wiretap discussed during

14     that meeting?

15     A.    I don't recall.

16     Q.    When you came to prepare your affidavit, the affidavit in

17     response to the Court's order to address certain issues, the

18     affidavit that was authored in 2018, did you personally

19     communicate with any of the individuals who were at that March

20     meeting with respect to how you were going to answer the

21     questions that the Court was ordering the Government to answer?

22     A.    Yes, I did.

23     Q.    Who did you speak with in that regard?

24     A.    My first call was to my Division Counsel, Cara Krysil.

25     She was not at that meeting.      She agreed to handle a certain
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 13 of 62
                                                                           13




 1     part of the, what I would call investigation into the questions

 2     that were posed by the Court.       My first call went to Special

 3     Agent Manuel Rego out of New York, who is the lead investigator

 4     of the New York investigation.       My second call went to -- she's

 5     now a group supervisor, but she was a special agent in the

 6     Dominican Republic at the time, Special Agent Roxana Pulido.

 7     Q.    Let me see if I can make sure I understand.

 8                  You made three phone calls, some of whom were to

 9     people at the meeting in March?

10     A.    Two of which.

11     Q.    Two of which, and that would have been the resident agent

12     in the country office --

13     A.    Roxana Pulido.

14     Q.    -- in Santo Domingo, and the other one would have been to

15     the case agent in the New York Field Office?

16     A.    The lead investigator out in New York, yes, Manuel Rego.

17     Q.    To your knowledge, the other individual you met, you

18     mentioned, was your lead counsel?

19     A.    Correct.

20     Q.    So that was an attorney that represents the DEA with

21     respect to issues that might arise like this?

22     A.    Correct.

23     Q.    To your knowledge, did you request that she question

24     anybody in the Special Operations Division?

25     A.    Yes.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 14 of 62
                                                                        14




 1     Q.    Do you know who that was that she questioned, and I'm just

 2     looking for a yes or no?

 3     A.    The last name is McGovern, I believe the first name is

 4     Robert.   He's an attorney with the Special Operations Division.

 5     Q.    So an attorney for the DEA spoke to an attorney for the

 6     Special Operations Division?

 7     A.    Correct.

 8     Q.    Now, the Special Operations Division provides

 9     investigative leads and intelligence?

10     A.    The Special Operations Division primarily disseminates

11     information between offices and deconflicts between offices.

12     If I have an investigation here, they have an investigation

13     there, Special Operations primarily acts as a liaison between

14     the two offices.

15     Q.    Well, the Special Operations were at least involved in

16     this case, correct?

17     A.    Yes.

18     Q.    And the target, if you will, or one of the main targets of

19     the wiretap here, was a gentleman by the name of Sergio Gomez

20     Diaz; am I correct?

21     A.    Yes.

22     Q.    Based on the affidavit you executed in support of the

23     Title 3 order, Gomez Diaz was a Dominican National who was a

24     multi-kilo broker of cocaine from Venezuela to the Dominican

25     Republic to New York, and the head of that particular
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 15 of 62
                                                                        15




 1     organization was a Columbian National who resided in Venezuela?

 2     A.    That sounds correct.

 3     Q.    Gomez Diaz had been the subject of prior DEA

 4     investigations in Miami and New York and elsewhere?

 5     A.    I believe that is correct as well.

 6     Q.    Did you ever personally question anybody in the Special

 7     Operations Division or was your questioning limited to the two

 8     attorneys?

 9     A.    Are you referring to my affidavit, sir?

10     Q.    Your affidavit of the -- I'm sorry -- of February 2018.

11     A.    I didn't speak to any attorneys other than my division

12     counsel.     I spoke to case agents other than --

13     Q.    Case agents?

14     A.    Yes.

15     Q.    Now, the DEA has a Caribbean section, correct?

16     A.    It does.

17     Q.    And there's a main office, if you will, in Puerto Rico?

18     A.    Correct.

19     Q.    A division office, and then there's a series of what are

20     called country offices, correct?

21     A.    That's correct.

22     Q.    A country office is usually staffed by one or more agents

23     and a series of intelligence analysts?

24     A.    As well as a Country Attache.

25     Q.    As well as a Country Attache.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 16 of 62
                                                                            16




 1               Ordinarily, they operate out of our embassies in those

 2     locations where they exist?

 3     A.    That's fairly typical, yes.

 4     Q.    Could you tell me, if you know, for how long the

 5     individual who was in the Santo Domingo country office, and I

 6     believe you said the name was -- was it Pulido?

 7     A.    Roxana Pulido.

 8     Q.    Pulido.

 9               For how long, as of February 2018, had Roxane Pulido

10     been stationed as the agent in the Santo Domingo office?

11     A.    As of February 2018, she was no longer stationed in the

12     Dominican office.     She had been promoted.     I believe she was in

13     Puerto Rico.

14     Q.    Was she the resident agent in the Santo Domingo office

15     prior to the wiretap, the Dominican wiretap, being initiated?

16     A.    When you refer to a resident agent, a special agent

17     working in that office?

18     Q.    A special agent working in that office.

19     A.    She was.

20     Q.    Did the DEA also have what are called vetted agents or

21     vetted employees in that office that would not be governmental

22     employees, but people who were paid salaries?

23     A.    That's a difficult question for me to answer.         Let me tell

24     you what I do know.     The DEA has agents and analysts working

25     down there.     They then, when you say "vet," the groups that
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 17 of 62
                                                                        17




 1     work with the DEA down there, which are actually Dominican

 2     Nationals, Dominican police departments, DNCD to be particular,

 3     DEA vets them.     They do background investigation on them to

 4     make sure that the information that we are sharing with them

 5     and they are sharing with us is not going to be corrupted.

 6                  Is that what you're referring to, sir?

 7     Q.    Well, do those individuals -- let me maybe back it up.

 8                  There are several kinds of vetted employees, correct?

 9     A.    Yes.

10     Q.    There are what I would call local police departments in

11     the DR, in the Dominican Republic, and then there are

12     individuals who provide information?

13     A.    I can't answer that accurately.       I don't know.

14     Q.    So do you know, on your own personal knowledge, whether or

15     not the DEA has some form of Memorandum of Understanding

16     regarding cooperation with the Dominican authorities?

17     A.    I don't know.

18     Q.    Did you ever determine or attempt to find that out when

19     you were executing the February 2018 affidavit?

20     A.    That is not a question I asked, no.

21     Q.    Are you aware of whether or not the DEA has Memorandums of

22     Understanding anywhere in the Caribbean with other either

23     foreign nations or the territory of Puerto Rico?

24     A.    I don't know.

25     Q.    So you indicated in the body of your affidavit that you
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 18 of 62
                                                                         18




 1     were confident that you spoke to everyone who would have

 2     knowledge that was relevant to whether or not there was a joint

 3     investigation between the DEA and the Dominican Republic.

 4     A.    I did.

 5               THE COURT:    The most relevant knowledge is what he

 6     represents in the affidavit.

 7               MR. BONGIORNI:     The most relevant knowledge, okay.

 8               THE COURT:    Most relevant.

 9     BY MR. BONGIORNI:

10     Q.    But you'll agree with me that in that regard, you did not

11     speak directly to anyone --

12               (A cell phone rings.)

13               MR. BONGIORNI:     Excuse me, Judge, I'm...

14               (Cell phone turned off.)

15     BY MR. BONGIORNI:

16     Q.    That you didn't speak to anybody in the Special Operations

17     Division directly?

18     A.    I did not speak to anybody in the SOD directly.

19     Q.    To your knowledge, did the DEA, in 2016, have a systemwide

20     lead tracking system?

21               Do you know what I mean when I say that?

22     A.    No, you need to be a little more specific, sir.

23     Q.    Well, the DEA has an overseas or a foreign operations

24     division, correct?

25     A.    We have nothing that's called the foreign operations
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 19 of 62
                                                                        19




 1     division that I know of.

 2     Q.    Is it an Office of International Affairs?

 3     A.    We do have that.

 4     Q.    Within the Office of International Affairs, does the DEA

 5     have the ability to track information that comes to each of the

 6     country offices?

 7     A.    I see where you're going now.

 8               So you're asking me if there is a way to track leads,

 9     so if I was providing information to somebody in another

10     office, is there a way to track those leads?

11     Q.    Sure.

12     A.    In some instances, yes, there is.

13     Q.    But in 2016, would you agree with me that there was no way

14     that the DEA had systematically to track if like the Special

15     Operations Division provided information to the Dominican

16     authorities that led to the issuance of a wiretap, you wouldn't

17     be able to determine that by accessing a system that would have

18     it?

19     A.    I cannot answer that question.       I don't know.

20     Q.    So would you agree with me that the universe of people

21     that you spoke to with respect to these questions was

22     Ms. Pulido, who was the Country Attache resident agent, and the

23     gentleman that you identified from the Field Office of

24     New York, I forget what his name was?

25     A.    Manny Rego.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 20 of 62
                                                                              20




 1     Q.    Manny Rego.

 2               Were those the -- was that the universes of

 3     individuals that you spoke directly to?

 4     A.    And Division Counsel, Cara Krysil.

 5     Q.    But were you seeking legal advice from her or was she just

 6     providing you a source of information that she was receiving

 7     from some other third party?

 8     A.    The latter which you just said.

 9     Q.    So she --

10     A.    She was speaking to certain individuals.        We basically

11     broke up the task.     There were four very specific questions

12     listed there.     I sent her those questions.      I said we need to

13     talk to a certain number of people to try and answer these

14     questions.     She handled part of the task, I handled part of the

15     task, we spoke again, and we generated an affidavit.

16     Q.    So just so I'm clear, this affidavit that you authored

17     wasn't based upon your personal knowledge in the sense that you

18     actually knew these facts or you were able to look at a

19     document and say this is what it reflects, you were relying on

20     what someone else was telling you occurred?

21     A.    Both.    I was relying on what I learned from an agent in

22     the Dominican Republic --

23     Q.    Right.

24     A.    -- an agent in New York, and my conversations with

25     Ms. Krysil, who had spoke to an attorney in SOD, as well as a
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 21 of 62
                                                                        21




 1     Country Attache in the Dominican Republic.

 2     Q.    But when you asked the questions, for instance, of the

 3     agent in the Dominican Republic, would you agree with me that

 4     you didn't ask her whether or not the individuals who applied

 5     for the Dominican wiretap had been in any way funded or trained

 6     or supported by the United States Government through the DEA,

 7     did you?

 8     A.    I did not.

 9     Q.    And the DEA does provide both training, funding and

10     intelligence information with respect to certain

11     investigations?

12     A.    I believe it does.

13     Q.    Based on your knowledge of the investigations, is it your

14     belief or is it your testimony that the Dominican investigation

15     predated the investigation that was aimed at Sergio Gomez Diaz?

16     A.    My investigation?

17     Q.    No, the --

18                THE COURT:   Yeah.   This investigation in this context

19     is a completely vague and uninformative term.

20                MR. BONGIORNI:    Sure.   I will --

21     BY MR. BONGIORNI:

22     Q.    There was, prior to the Dominican wiretap, DEA had

23     investigations that were directed at Sergio Gomez Diaz?

24     A.    I've heard they had, yes.

25     Q.    Well, you included that information in the wiretap
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 22 of 62
                                                                            22




 1     affidavit that you authored, correct?

 2     A.    Yes.

 3     Q.    And you identified those areas of the country, including

 4     Miami and New York, that had investigations directed at that

 5     individual, correct?

 6     A.    Correct.

 7     Q.    In fact, the field district in New York had an

 8     investigation that was directed at Sergio Gomez Diaz that was

 9     actually active, which is how your Field Office came into this

10     portion of the investigation?

11     A.    That's correct.

12     Q.    So the investigation centers around Sergio Gomez Diaz and

13     an unknown Columbian National originally?

14     A.    (Inaudible) in the investigation, yes.

15     Q.    Correct.

16                  And was that information --

17                  (A cell phone rang.)

18                  THE COURT:   Uh --

19                  MR. BONGIORNI:   Apparently, I don't even know how to

20     turn it off.

21                  Why don't you turn that off.

22                  I apologize.

23                  THE COURT:   That's alright.   Go ahead.

24     BY MR. BONGIORNI:

25     Q.    So the investigation by the New York office that was
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 23 of 62
                                                                              23




 1     directed against Sergio Gomez Diaz was operational before your

 2     investigation in January of '16?

 3     A.    If operational means in existence, yes.

 4     Q.    Yes.

 5                  And do you know from what period of time it had been

 6     in existence?

 7     A.    I don't know exactly, no.

 8     Q.    Do you know, at least based on your conversations with the

 9     agent in New York, whether it had any connection to the wiretap

10     in the Dominican Republic?

11     A.    I don't know the answer to that.

12     Q.    Is that because you don't know?

13     A.    Yes, because I don't know.

14     Q.    So would you agree with me that the individual that you

15     queried in preparation for preparing your affidavit, the

16     gentleman, is it Manuel --

17     A.    Rego.

18     Q.    Manuel Rego.    So you never questioned him about whether or

19     not his Field Office had been involved with the Dominican

20     authorities in that wiretap?

21     A.    My questions to him were very specific in regards to the

22     Court's questions to the Government.        I posed the questions as

23     they were written in the Court's order to them.         I said, "Did

24     you initiate an investigation with the Dominican authorities?"

25     He answered, "No."
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 24 of 62
                                                                        24




 1     Q.    Well, did you ask whether or not he shared information of

 2     his investigation with the Dominican authorities?

 3     A.    I did not.

 4     Q.    Or did you ask him whether or not he had requested some

 5     assistance based on the information that he had produced, or

 6     whether he shared that information with the Dominican

 7     authorities?

 8     A.    I asked him very specific questions which were detailed by

 9     the Court to the Government.

10     Q.    So would you agree with me that you were attempting to

11     make your questions to him as narrow as you possibly could?

12     A.    No, I wouldn't agree.

13     Q.    Well, you were confining it, at least, to only those

14     questions that were in the Court's order?

15     A.    I was posed with the task.      I did my task.

16     Q.    So with respect to the wiretap in the Dominican Republic,

17     when you were attempting to answer the Court's questions, would

18     you have questioned anybody in the DEA about whether or not

19     they had provided technical assistance to the individuals in

20     the Dominican Republic?

21     A.    Could you define what you mean by technical assistance?

22     Q.    Well, sure.    Provide monitoring equipment paid for through

23     a grant for local officers to get overtime pay to monitor an

24     operation like that.

25               When you have a wire -- let me stop for a minute.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 25 of 62
                                                                           25




 1               When you have a wiretap that exists for 15 months,

 2     it's manpower intensive?

 3     A.    That's correct.

 4     Q.    So it usually involves a fairly large expenditure of

 5     money, even to run one like the one that you did?

 6     A.    It does.

 7     Q.    So did you ever attempt to inquire as to whether or not

 8     the United States Government, through the DEA, had ever

 9     provided any financing for the wiretap that resulted in the

10     interception of Mr. Marte's communications?

11     A.    I did not inquire specifically about Mr. Marte's

12     communication.    That's a specific wiretap.       I do know that DEA

13     does fund, as you say, technical equipment and that type of

14     thing for Dominican Nationals.

15     Q.    Do they also -- remember we had talked about those vetted

16     employees.    Is there a thing within the Country Attache called

17     a Sensitive Investigations Unit employees, SIU?

18     A.    I have heard of SIU, yes.

19     Q.    Did you make any inquiry to determine whether or not any

20     of the DEA's SIU employees in the country office in

21     Santo Domingo were involved in this wiretap?

22     A.    I don't believe that was a question posed by the Court to

23     the Government.

24     Q.    Can you tell -- would such information exist?

25     A.    I don't know.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 26 of 62
                                                                              26




 1     Q.    Well, these individuals are paid, aren't they?

 2     A.    Are you referring to the office in (inaudible)?

 3     Q.    Well, the officers, if they have vetted special

 4     investigative units, those are individuals that work directly

 5     with DEA in those country offices?

 6     A.    Correct.

 7     Q.    Are they paid by the United States Government?

 8     A.    I don't know the answer to that.

 9     Q.    If they were, would you agree with me that there would be

10     a record of it?

11               MR. DESROCHES:     Objection, your Honor.     When he says

12     he doesn't know if these things exist, I think this is a very

13     hypothetical question.

14               THE COURT:    I think Agent Barron can say whether or

15     not he knows.    If he doesn't know, that's --

16               THE WITNESS:    I don't know.

17     BY MR. BONGIORNI:

18     Q.    So it's possible that people -- that the United States

19     Government paid for people to work in the Dominican Republic on

20     this wiretap, you just didn't go to those areas to look or you

21     didn't ask these particular questions?

22     A.    I asked questions very specific to what the Court ordered.

23     Q.    Right.

24               So if the -- do you know whether or not the Special

25     Operations Division provided investigatory leads to the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 27 of 62
                                                                        27




 1     New York Field Office?

 2     A.    Yes, they did.

 3     Q.    And the New York Field Office was the individual office

 4     that had an up-and-running extant investigation aimed at Sergio

 5     Gomez Diaz?

 6     A.    Yes.

 7     Q.    Can you tell me whether or not the Special Operations

 8     Division had also targeted Mr. Sergio Gomez Diaz in the Miami

 9     investigation?

10     A.    The Special Operations Division doesn't target anybody.

11     They act as an intermediary between two offices.

12     Q.    Was there an office -- did the Caribbean office contain a

13     country office in Venezuela?

14     A.    I'm not positive.     I believe so, but I'm not sure.

15     Q.    Do you know whether or not they had one at one time in

16     Caracas?

17     A.    I believe they did.

18     Q.    Do you believe that there was an office in Caracas as of

19     the time that the New York Field Office began its investigation

20     of Sergio Gomez Diaz and the Columbian individual residing in

21     Venezuela that was suspected of being the source of Gomez

22     Diaz's drugs that were being funneled to New York?

23     A.    You're asking if I believe there was an office in Caracas

24     at that time?

25     Q.    Yes.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 28 of 62
                                                                              28




 1     A.    Yes, I do.

 2     Q.    Now, the Special Operations Division would be able to have

 3     contacts with all of those offices, Caracas, Santo Domingo,

 4     Miami, New York?

 5     A.    Yes.

 6     Q.    Can you tell me what the purpose, or what your

 7     understanding was of the purpose, for a Special Operations

 8     Division individual being at the March meeting, the meeting

 9     that you were informed about the wiretap?

10     A.    The Special Operations Division --

11                  THE COURT:   Wait a second, wait a second.     What was

12     the question?

13                  It ended and I didn't hear the end of the question.

14                  MR. BONGIORNI:   I'm sorry.

15     BY MR. BONGIORNI:

16     Q.    What was your understanding of the purpose of the March

17     meeting at which there was Special Operations Division

18     personnel present?

19     A.    The Special Operations Division, in the best layman's term

20     I can explain it in, is like a broker.        They bring people

21     together to share information.

22                  So if I'm going to run a wiretap, I need to contact

23     the SOD, the Special Operations Division, let them know I'm

24     running a wiretap, this is who I'm running it on, these are the

25     numbers I'm looking at.       Other offices do the same thing, they
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 29 of 62
                                                                        29




 1     provide that information to the Special Operations Division.

 2               When some of this information intersects, as it did in

 3     this case, they will then say okay, Agent, Barron, you need to

 4     talk to Agent Pulido in the Dominican Republic because some of

 5     her information is overlapping with some of your information.

 6     They will then bring those people together and say

 7     Agent Barron, this is Agent Pulido, you guys should have a

 8     conversation.

 9     Q.    Would Special Operations also share information with

10     foreign police forces?

11     A.    I don't know the answer to that.

12     Q.    So they may, you just don't know one way or the other?

13     A.    Correct.

14     Q.    So if the Special Operations Division forwarded

15     intelligence that was used in obtaining the Dominican wiretap,

16     you just either didn't question the appropriate person or you

17     don't know the answer?

18     A.    I could tell you the Special Operations Division in this

19     case, this investigation, did not forward any information to

20     the Dominican Nationals.

21     Q.    Is that based on your personal knowledge or is that based

22     on a conversation that you had with someone else?

23     A.    That is based on a conversation that Cara Krysil had with

24     the attorney in Special Operations, who then spoke with several

25     people that are involved in this investigation.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 30 of 62
                                                                           30




 1     Q.     Now, the Special Operations does not usually advertise

 2     it's work, right?

 3     A.     That's correct.

 4     Q.     It's a departmentalized, fairly secretive, portion of the

 5     DEA?

 6     A.     I don't know if it's really a secret.       We're talking about

 7     it in open court right here (inaudible).

 8     Q.     Well, you're talking -- have you known any agent of the

 9     Special Operations Division who has testified under oath in a

10     courtroom, in an open court?

11                MR. DESROCHES:    Objection.

12                THE COURT:    Yeah, I'm going to sustain the objection.

13     BY MR. BONGIORNI:

14     Q.     In any event, just so I can make sure that I've -- that

15     the number of individuals that you spoke to, really, who might

16     have personal knowledge, were the individual in Santo Domingo

17     and the gentleman in New York, correct?

18     A.     Correct.

19     Q.     And anything else that you would have learned, either from

20     the counsel for -- your legal counsel or SOD's legal counsel,

21     was all knowledge that was not first-hand and is based on them

22     speaking to perhaps two or three or four other individuals?

23     A.     It was based on Ms. Krysil speaking with an attorney in

24     SOD and the Country Attache in the Dominican Republic.

25     Q.     So, once again, that wouldn't be based on your personal
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 31 of 62
                                                                        31




 1     knowledge, correct?

 2     A.    Correct.

 3     Q.    With respect to the individuals who actually ran the

 4     wiretap in the Dominican Republic, you can't tell us whether or

 5     not they were paid by the United States Government through the

 6     DEA, correct?

 7     A.    I cannot.

 8     Q.    You don't know whether the investigative leads were

 9     provided by vetted individuals employed by the DEA in the

10     Sensitive Investigations Unit working out of that country

11     office?

12     A.    That's correct.

13     Q.    And whether or not the DEA provided either equipment or

14     technical assistance, you wouldn't know because the two people

15     you spoke to weren't asked those questions?

16     A.    I believe I answered that DEA does provide them with the

17     equipment to monitor these phones.

18     Q.    And with respect to funding, you wouldn't know one way or

19     the other whether or not this was a fairly expensive

20     proposition of more than a year-long wiretap?

21     A.    Agreed.

22     Q.    The target of the Dominican wiretap was not Sergio Gomez

23     Diaz, but an individual named Kevin?

24     A.    The target of which Dominican wiretap?

25     Q.    The Dominican wiretap that we're talking about here, the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 32 of 62
                                                                               32




 1     one that took place in the Dominican Republic and lasted for

 2     approximately 13 or 14 months.

 3     A.      The target of their wiretap is Sergio Gomez.       That's who

 4     they were listening to.

 5     Q.      And it wasn't somebody other than Sergio Gomez?

 6     A.      I don't know who else is involved in that investigation.

 7     I can tell you that they were listening to Sergio Gomez.

 8     Q.      You don't know whether or not the DEA had one or more

 9     active investigations aimed at Sergio Gomez Diaz before the

10     Dominican wiretap began?

11     A.      I don't know if they were active.     I know he had been

12     named in at least one, maybe two, prior investigations prior to

13     that.

14     Q.      But you don't know whether those -- when he was named in

15     those prior investigations, that that was before the Dominican

16     wiretap began?

17     A.      I don't know.

18                 MR. BONGIORNI:    I don't have any further questions.

19                 THE COURT:   Alright.   Mr. O'Donald, any questions for

20     Agent Barron?

21                 MR. O'DONALD:    Your Honor, I don't have any questions.

22                 THE COURT:   So Mr. Desroches?

23                 MR. DESROCHES:    Thank you, your Honor.

24

25
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 33 of 62
                                                                        33




 1               CROSS-EXAMINATION OF SPECIAL AGENT JOHN BARRON

 2     BY MR. DESROCHES:

 3     Q.    Good morning, Agent Barron.

 4     A.    Good morning, Mr. Desroches.

 5     Q.    So you had just been asked some questions about your

 6     preparation to write an affidavit that you filed with this

 7     court; is that correct?

 8     A.    That's correct.

 9     Q.    You indicated that you spoke to, directly, Special Agent

10     Manuel Rego; is that correct?

11     A.    Correct.

12     Q.    Can you please describe what his role is.

13     A.    He was the lead investigator of the Sergio Gomez and Rudy

14     Gomez investigation operating out of New York.

15     Q.    Why did you speak to him?

16     A.    Because he was part of the group that passed me the

17     original information and part of the group that had been

18     dealing directly with the Dominican Republic.

19     Q.    When you described that that group was investigating

20     Sergio Gomez and another individual by the name of Rudy Gomez,

21     is it your understanding that Rudy Gomez was operating in

22     New York?

23     A.    It is.

24     Q.    And is it also your understanding that Sergio Gomez was

25     supplying Rudy Gomez with heroin from the Dominican Republic?
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 34 of 62
                                                                        34




 1     A.    That's my understanding, yes.

 2     Q.    So their primary interest at that point was the

 3     distribution of heroin in New York; is that fair to say?

 4     A.    Correct.

 5     Q.    When you spoke to Special Agent Rego, did you believe that

 6     he would have answers to questions as to whether or not they

 7     requested the Dominican Nationals initiating wiretap into --

 8     I'm sorry, involving Sergio Gomez?

 9     A.    I did.

10     Q.    Did you believe he would be one of your best sources of

11     information from that office regarding that question?

12     A.    I did.   He was the lead investigator in that

13     investigation.

14     Q.    Do you recall approximately when that investigation began

15     in New York?

16     A.    Sometime a few months before my investigation began here

17     in Massachusetts.     I would think late 2015.

18     Q.    So you said you also spoke to a Roxana Pulido; is that

19     correct?

20     A.    Correct.

21     Q.    Why did you speak to Ms. Pulido?

22     A.    Because she was the lead investigator operating out of

23     New York in this investigation -- excuse me, operating out of

24     the Dominican Republic in this investigation.

25     Q.    And --
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 35 of 62
                                                                           35




 1                 THE COURT:   When you say "this investigation," Agent

 2     Barron, could you be more specific about which investigation

 3     you're talking about.

 4                 THE WITNESS:   Yes.   Sergio Gomez/Rudy Gomez/Alberto

 5     Marte investigation.

 6                 THE COURT:   So you're calling that a single

 7     investigation?

 8                 MR. DESROCHES:   If I could ask questions (inaudible).

 9                 THE COURT:   Yeah.

10     BY MR. DESROCHES:

11     Q.    So just so we're all clear, let's refer to the

12     investigation targeting Sergio Gomez as the 2015 investigation.

13     A.    Okay.

14     Q.    And the investigation that you conducted into Mr. Marte is

15     the Marte investigation.

16     A.    Correct.

17     Q.    And the investigation out of New York as the New York

18     investigation.

19     A.    Okay.

20     Q.    So, now, with that in mind, what role did Ms. Pulido play?

21     A.    Ms. Pulido was an agent operating in the Dominican

22     Republic who was passing information she gained through the

23     Dominican Republic's investigation down there to Mr. Rego in

24     New York.

25     Q.    So her role was to pass information she got from Dominican
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 36 of 62
                                                                        36




 1     authorities to New York; is that correct?

 2     A.    Correct.

 3     Q.    Did you believe that she would have information that was

 4     responsive to the Court's order in regards to the wiretap?

 5     A.    I did.

 6     Q.    Did you believe that she was in the best position to

 7     answer those questions?

 8     A.    I did.

 9     Q.    You also indicated you spoke to Cara Krysil, who is the

10     Division Counsel for the DEA.

11     A.    Yes.

12     Q.    Can you describe what her role is.

13     A.    She is the DEA's attorney operating in Boston,

14     Massachusetts.

15     Q.    When you spoke to her, was it clear to you that she

16     understood why you were speaking to her?

17     A.    It was.

18     Q.    She reached out to other parties as well, correct?

19     A.    Correct.

20     Q.    Including Division Counsel for the SOD; is that right?

21     A.    Correct.

22     Q.    What role does the Division Counsel for SOD play?

23     A.    They are the attorney on record for the Special Operations

24     Division.

25     Q.    Have you reviewed the response from that attorney?
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 37 of 62
                                                                        37




 1     A.    I did.

 2     Q.    Was that informative to you in regard to the Court's

 3     questions?

 4     A.    It was.

 5     Q.    Did you learn -- and what did you learn from that inquiry

 6     to the SOD?

 7     A.    That the SOD did not pass any leads to the Dominican

 8     Republic, that SOD did not initiate any investigation with the

 9     Dominican Republic, and that SOD did not maintain any records

10     of any information coming back and forth between the Dominican

11     Republic and the United States.

12     Q.    Did you also learn that the SOD is not engaged in a joint

13     investigatory relationship with the Dominican Republic?

14     A.    I did.

15     Q.    In fact, what role did the SOD play in this

16     investigation -- I'm sorry, in the Marte investigation, your

17     investigation?

18     A.    They acted as an intermediary between the DEA in

19     Massachusetts, the DEA in New York, and the DEA in the

20     Dominican Republic.

21     Q.    Now, that meeting that you testified to that occurred at

22     SOD in March of 2016, is it fair to say the purpose of that

23     meeting was to deconflict with other offices in the DEA?

24     A.    Correct.

25     Q.    Is that consistent with the role that the SOD played
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 38 of 62
                                                                              38




 1     throughout the Marte investigation?

 2     A.    It is.

 3     Q.    You also indicated that Ms. Krysil spoke to the Country

 4     Attache for the Dominican Republic.

 5     A.    That's correct.

 6     Q.    What role does the Country Attache play in the Marte

 7     investigation?

 8     A.    Specifically in the Marte investigation, none.

 9     Q.    What role does the Country Attache play in the New York

10     investigation?

11     A.    Zero.

12     Q.    And what role does the Country Attache play in the 2015

13     investigation?

14     A.    None that I know of.

15     Q.    What information would the Country Attache have that would

16     be relevant to the questions this Court asked?

17     A.    She would be able to provide Ms. Krysil with the DEA's --

18     Mr. Bongiorni's Memorandum of Understanding.         I don't know if

19     there's a National Memorandum of Understanding, but DEA's

20     policies so far as how things are handled between the

21     United States and the Dominican Republic.

22     Q.    What did you learn from those conversations?

23     A.    The DEA does not initiate investigations in the Dominican

24     Republic.

25     Q.    In terms of the ongoing involvement of the DEA -- I'm
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 39 of 62
                                                                        39




 1     sorry, strike that.     We'll get to that in a moment.

 2               Based on your conversations with Ms. Pulido and your

 3     review of documents and the conversations you had with

 4     Special Agent Rego, did you learn when the 2015 investigation

 5     in the Dominican Republic started?

 6     A.    I know their first order for a wiretap was in January of

 7     2015, so it would have to predate that.

 8     Q.    So because the wiretap began in January 2015, the

 9     investigation would have had to start prior to that date; is

10     that correct?

11     A.    Correct.

12     Q.    When did the Marte investigation start?

13     A.    January of 2016.

14     Q.    And you testified that the New York investigation began

15     approximately two or three months prior to the Marte

16     investigation?

17     A.    That's what I believe, yes.

18     Q.    So is it fair to say that the Dominican Republic was

19     investigating Sergio Gomez independently for over a year prior

20     to when the Marte investigation started?

21     A.    That's correct.

22     Q.    Did you learn that the DEA never requested that that

23     wiretap of Mr. Gomez Diaz, the 2015 wiretap, had no -- the DEA

24     did not request that wiretap?

25     A.    The DEA did not request that wiretap.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 40 of 62
                                                                             40




 1     Q.    Did you learn -- did the DEA request that Dominican

 2     officials apply for the court order authorizing that wiretap?

 3     A.    They did not.

 4     Q.    Did you learn that the DEA became aware of the

 5     investigation long after its inception?

 6     A.    I did.

 7               THE COURT:    Became aware of the investigation?

 8               MR. DESROCHES:     I'm sorry, the 2015 investigation well

 9     after the inception.

10               MR. BONGIORNI:     The Dominican Republic investigation,

11     is that because there's --

12     BY MR. DESROCHES:

13     Q.    You may answer the question, Agent Barron.

14     A.    Yes, I am.

15     Q.    Did the DEA agents or anyone in the DEA supervise, direct

16     or control the Dominican wiretap that intercepted

17     Defendant Marte's communications with the target of that

18     Dominican Republic investigation?

19     A.    They did not.

20     Q.    When was Mr. Marte intercepted on that Dominican wiretap?

21     A.    It was the beginning of March of 2016.        I actually

22     received the information on March 16, 2016.

23     Q.    And it was intercepted in 2016 as well?

24               THE COURT:    Wait a second.     Yeah, he just -- did you

25     just testify that he was intercepted in March of 2016 on --
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 41 of 62
                                                                         41




 1     that's what he said; isn't that right?

 2                  THE WITNESS:   Yes, that's correct.

 3                  THE COURT:   So that was the only time; is that right?

 4     BY MR. DESROCHES:

 5     Q.    Is that correct, how many times was Mr. Marte, to your

 6     knowledge, intercepted?

 7     A.    Twice.

 8     Q.    When did the second interception occur?

 9     A.    They were within several hours or a day of each other.

10     They were fairly close.

11     Q.    And that occurred over a year after the Dominican wiretap

12     was initiated; is that correct?

13     A.    Correct.

14     Q.    Did DEA agents personally participate in the intercepting

15     and recording of Mr. Marte's communications with the target of

16     the Dominican wiretap?

17     A.    They did not.

18     Q.    You testified in response to Attorney Bongiorni's

19     questions about funding that the DEA gives to the Dominican

20     Republic.

21     A.    Yes.

22     Q.    Is that funding specific to the Marte investigation?

23     A.    It is not.

24     Q.    Is it specific to any investigation?

25     A.    It's not.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 42 of 62
                                                                        42




 1     Q.    So how is it then, based on your knowledge, given or

 2     provided to the Dominican Republic?

 3     A.    How is the funding provided to them?

 4     Q.    Correct.

 5     A.    I don't know exactly.

 6     Q.    Is it specific to an investigation?

 7     A.    It is not.

 8     Q.    So it's a general grant of money to the Dominican Republic

 9     in order to conduct general investigations?

10     A.    Counter-narcotics investigations.

11     Q.    In terms of the equipment, did the DEA provide equipment

12     that was used specifically -- I'm sorry, strike that.

13                 Did the DEA specifically provide information or

14     equipment to authorities in the Dominican Republic in order to

15     conduct the investigation that resulted in Mr. Marte being

16     intercepted?

17     A.    No.

18     Q.    So how is it that the DEA provides equipment to the

19     Dominican Republic?

20     A.    They provide -- I would say in Mass., they provided

21     equipment necessary to conduct counter-drug investigations.

22     Q.    Again, that's not specific to any particular

23     investigation; is that correct?

24     A.    No.

25     Q.    So is it fair to say that the extent of the cooperation
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 43 of 62
                                                                              43




 1     between the Dominican Republic and the DEA in this case, in the

 2     Marte investigation, was the provision of the two interceptions

 3     that occurred in March 2016 and that involved Mr. Marte?

 4     A.    I wouldn't say it's the full extent of it, but that's

 5     where things began.

 6     Q.    Well, what is the full extent of it?

 7     A.    What assistance did the DNC provide DEA in regards to

 8     Mr. Marte?

 9     Q.    Correct.

10     A.    Past information on Sergio Gomez, I would say.         Most of

11     this information though went to New York, not directly to me in

12     Massachusetts.

13     Q.    So the extent was sharing of information?

14     A.    Correct.

15     Q.    Now, based on your conversations with the people that

16     we've discussed and Ms. Krysil's conversations that you've had

17     an opportunity to review, how do you believe that you can

18     answer these questions?

19               How is that you believe you can answer these

20     questions?

21     A.    I believe I asked the two people who would have knowledge

22     to answer these four questions, specifically the questions that

23     they were posed, and they had the knowledge and they were in

24     the position to answer those questions accurately.

25     Q.    And do you believe that the individuals Ms. Krysil spoke
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 44 of 62
                                                                        44




 1     to also had the relevant information?

 2     A.    I do.

 3                (Pause.)

 4                MR. DESROCHES:    Thank you.    I have no further

 5     questions.

 6                THE COURT:   Alright.     Mr. Bongiorni, any

 7     cross-examination?

 8                MR. BONGIORNI:    Sure.

 9             REDIRECT EXAMINATION OF SPECIAL AGENT JOHN BARRON

10     BY MR. BONGIORNI:

11     Q.    Agent Barron, with all the questions that Mr. Desroches

12     just posed to you, you're relying on what someone else

13     represented to you, correct?

14     A.    I am.

15     Q.    Your beliefs are not based on personal knowledge about

16     things that you saw or could read or touch, but they're based

17     on conversations that other people have had with other people,

18     correct?

19     A.    That's correct.

20     Q.    To your knowledge, would Ms. Pulido have been in a

21     position, if a Dominican wiretap was initiated by the Dominican

22     authorities, based on the -- if there's a Memorandum of

23     Understanding or the fact that they have a Country Attache

24     there with Dominican authorities, alert DEA to the fact that

25     they were going to be running a wiretap?
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 45 of 62
                                                                          45




 1     A.    Can you ask that question one more time?

 2     Q.    Sure.

 3                 When you spoke to Ms. Pulido in preparation for

 4     executing your affidavit, did you ask her whether or not the

 5     authorities in the Dominican Republic would provide her with

 6     information that they had a wiretap potentially (inaudible)

 7     telephones or cell phones in the United States as part of the

 8     protocol?

 9                 THE COURT:   Yeah.   Could you rephrase that --

10                 MR. BONGIORNI:   Sure.

11                 THE COURT:   -- maybe break it down into a couple of

12     questions?

13                 THE WITNESS:   It's kind of a broad question.

14                 MR. BONGIORNI:   I can do that.

15     BY MR. BONGIORNI:

16     Q.    Sergio Gomez Diaz was a target of the New York wiretap and

17     so was Rudy Diaz?

18     A.    I believe Sergio Gomez Diaz was the target of a Dominican

19     Republic wiretap.

20     Q.    Right.

21                 And Rudy Diaz, was he a target of a wiretap in the

22     New York district?

23     A.    Not by DEA, but by another agency.

24     Q.    By another agency.

25                 Was Rudy Diaz someone who had been exposed to the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 46 of 62
                                                                        46




 1     New York office through the Dominican wiretap?

 2     A.    Rudy Diaz?

 3     Q.    Rudy Diaz.

 4     A.    Rudy Gomez?

 5     Q.    Rudy Gomez Diaz.

 6     A.    Is Rudy Gomez someone -- maybe one more time.

 7     Q.    Sure.   Let me maybe back it up.

 8     A.    You're starting to confuse me with that.

 9     Q.    Sergio Gomez Diaz, I believe you testified, was an

10     individual who stayed in the Dominican Republic, and he

11     brokered, essentially, sales of heroin and cocaine to

12     individuals in the United States?

13     A.    Yes.

14     Q.    One of those individuals was an individual in New York who

15     was related to him in some way?

16     A.    Correct.

17     Q.    And what was that relationship?

18     A.    I believe he was his nephew.

19     Q.    So Sergio -- I'm going to use the last name -- Diaz, in

20     the Dominican Republic, has a nephew -- you believe is a

21     nephew, named Rudy Diaz in New York?

22     A.    Correct.

23     Q.    And Rudy Diaz obtains quantities of whatever controlled

24     substances that Sergio Diaz brokers in the Dominican Republic?

25     A.    Correct.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 47 of 62
                                                                         47




 1     Q.     So when the Dominican authorities conducted a wiretap, and

 2     you believe it took place in January of 2015, Sergio Gomez Diaz

 3     was a target of that wiretap, correct?

 4     A.     Correct.

 5     Q.     As a result of that wiretap, Rudy Diaz was identified in

 6     New York?

 7                 THE COURT:   If you know.

 8     Q.     If you know.

 9     A.     I think eventually yes, he was.

10     Q.     So Ms. Pulido, based on her position in the DEA, would she

11     have been aware of the existence of the January 2015 wiretap,

12     Dominican wiretap?

13     A.     She would not be aware of that wiretap until it became

14     pertinent to her.

15     Q.     So the Dominican authorities, based on your

16     conversation -- was this based on your knowledge or based on a

17     conversation with her?

18     A.     This is based on my conversation with her.

19     Q.     They wouldn't have told her until it became pertinent to

20     her?

21     A.     Correct.

22     Q.     And how would the Dominican authorities determine whether

23     or not it was pertinent to her?

24     A.     When that person that they were intercepting started

25     dialing or talking to telephones which they believed were in
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 48 of 62
                                                                               48




 1     the United States.

 2     Q.    So at least there was some understanding that officials in

 3     the Dominican Republic, once they saw area codes that were from

 4     the United States, would that alert the Country Attache office?

 5     A.    If those calls were deemed pertinent by the Dominican

 6     Nationals and they were to United States area codes, they would

 7     then pass that information along.

 8     Q.    So Ms. Pulido wouldn't have anything to do or any

 9     knowledge about the Dominican wiretap, in terms of how it was

10     initiated, who provided the information for it, or anything

11     like that?

12     A.    She has basic knowledge of how it was initiated, like what

13     brought Sergio Gomez onto the radar, but nothing specific.

14     Q.    Nothing.

15               So she wouldn't have specific information about how

16     the Dominican authorities came to obtain that wiretap because

17     she wouldn't actually even be notified that it was in existence

18     until such time as that wiretap began to identify area codes in

19     the United States?

20     A.    She would have the orders which they filed with the judge,

21     the judiciary down there, detailing their information.           It's

22     kind of the same view as if I had the information, but I don't

23     know past that.     I can't answer past that.

24     Q.    Well, when you say she would have the information in the

25     court order, she wouldn't have the information in the court
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 49 of 62
                                                                          49




 1     order when the court order was initially authorized?

 2     A.     That's correct.

 3     Q.     She wouldn't get it until somebody in the Dominican

 4     authorities now recognizes that that wiretap is picking up

 5     American area codes, and then they go to her office and notify

 6     her:   Listen, we've now began to intercept people in the United

 7     States?

 8     A.     That's correct.

 9     Q.     So she wouldn't have any information with respect to who

10     provided the information for the wiretap, what went into it,

11     where the investigative leads came from, where the probable

12     cause came from, she wouldn't have any idea about that?

13     A.     She may have asked them at that point, but I can't answer

14     that question.

15     Q.     Because you didn't ask?

16     A.     Correct.

17     Q.     So it's your testimony, I just want to make clear, that

18     there was no employee of the DEA or the United States

19     Government that either took part in the wiretap, in the

20     application for that wiretap, or provided information to

21     Dominican authorities to get that wiretap?

22     A.     That's correct.

23                MR. BONGIORNI:    I don't have any further questions.

24                THE COURT:    Mr. Desroches, anything else?

25                MR. DESROCHES:    Yes, if I may.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 50 of 62
                                                                         50




 1               RECROSS-EXAMINATION OF SPECIAL AGENT JOHN BARRON

 2     BY MR. DESROCHES:

 3     Q.      In regards to the Dominican Republic investigation, based

 4     on your conversations with Ms. Pulido, did you learn what

 5     triggered the investigation in the Dominican Republic by the

 6     Dominican Nationals?

 7     A.      I did.

 8     Q.      What was that?

 9     A.      There was an airplane seized which was being used to

10     transport (inaudible) being used to transport drugs between the

11     Dominican Republic and Venezuela.       That airplane had some type

12     of ties to Mr. Gomez.      I don't know exactly what those ties

13     were.

14     Q.      That was seized by the Dominican Nationals, correct?

15     A.      That's correct.

16     Q.      The DEA had no role in that seizure; is that correct?

17     A.      That's correct.

18     Q.      Ultimately, that seizure is what led to the wiretap in the

19     Dominican Republic; is that right?

20     A.      That's correct.

21                 MR. DESROCHES:    Thank you.   I have no further

22     questions.

23                 THE COURT:    Alright.

24

25
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 51 of 62
                                                                        51




 1          CONTINUED REDIRECT EXAMINATION OF SPECIAL AGENT BARRON

 2     BY MR. BONGIORNI:

 3     Q.    So --

 4               THE COURT:    Well --

 5               MR. BONGIORNI:     Just --

 6               THE COURT:    One.

 7               MR. BONGIORNI:     One.

 8     BY MR. BONGIORNI:

 9     Q.    You referenced a document that you received from Special

10     Operations Division, a document that you were testifying from

11     in terms of what your belief was.

12               Did I understand Mr. Desroches asked you a question

13     about a document you had received?

14     A.    There was an e-mail received, yes.

15     Q.    An e-mail.

16               Would you voluntarily produce that e-mail?

17               THE COURT:    Um --

18               MR. DESROCHES:     Objection.    Thank you.

19               THE COURT:    The objection is sustained.

20     BY MR. BONGIORNI:

21     Q.    With respect to the seizure of the airplane, did the

22     Special Operations Division have anything to do, based on your

23     knowledge, with the seizure of that airplane?

24     A.    Not to my knowledge.

25     Q.    You're not saying that couldn't have happened, you just
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 52 of 62
                                                                          52




 1     wouldn't know about it?

 2     A.    Correct.

 3               MR. BONGIORNI:     Thank you.    I have no further

 4     questions.

 5               THE COURT:    Alright.    So what I take it I have in

 6     front of me is sort of a renewed request by the defense for

 7     access to certain information related to the Dominican wiretap.

 8     I will hear from counsel for the defense with respect to -- now

 9     that they've had the opportunity to have the evidentiary

10     hearing, I think I'd like to hear the argument now rather than

11     requiring written submissions.       That would be my preference

12     because I don't want hold a decision on this issue up further.

13               If you feel strongly that you'd prefer to do it by

14     written submissions, I'll hear you, but I will set a

15     comparatively tight time frame.

16               MR. BONGIORNI:     No, I think I can make our position

17     fairly clear.

18               THE COURT:    Clear.   Okay.

19               MR. BONGIORNI:     One of the problems that I had with

20     the process was that the Court, who is the fact finder who is

21     tasked with finding facts, has to rely, as we have here, on

22     multiple and triple levels of hearsay, and that's why I think

23     in the last submission I asked the Court to formulate a

24     standard, because I'm sure these things are going to come up in

25     the future.     It's difficult if you have to make a determination
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 53 of 62
                                                                        53




 1     about whether or not something did or did not occur, or you

 2     don't have an opportunity to see live witnesses, or you don't

 3     have an opportunity to see documentary evidence that was

 4     created by individuals who have, in fact, personal knowledge.

 5     I know that's the standard in the civil side of it for summary

 6     judgment motions, and while I expect that the Court would

 7     consider some hearsay, if you had some indicia of its

 8     reliability, I don't know how in this case that you have any

 9     indication that what is being represented is reliable because

10     it's really stepped in, at least what I can see, Agent Barron

11     speaks to counsel for DEA, who then speaks to counsel for SOD,

12     who then speaks to someone that we don't know, and then this is

13     supposed to be the kind of factual menu from which a Court

14     could make that finding.

15               THE COURT:    And that is the process that has occurred,

16     it seems to me, in every one of these cases where a defendant

17     has sought access to information on the basis that there is

18     some kind of a joint investigation.

19               MR. BONGIORNI:     Sure.

20               THE COURT:    I mean, I don't know of any criminal case

21     that's established the kind of standard that you're alluding

22     to, Mr. Bongiorni.

23               MR. BONGIORNI:     I tried to find one and the caselaw is

24     fairly all over the lot, so to speak.

25               THE COURT:    Right.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 54 of 62
                                                                          54




 1                MR. BONGIORNI:    I couldn't find anything that clearly

 2     said it.     Obviously, there are some in which hearsay is

 3     permitted, but this is the kind of hearsay that I think

 4     really -- that you have to say is not truly reliable, that is

 5     because we're having to speculate about what did or did not

 6     happen.

 7                I understand the difficulty with that because

 8     Agent Barron really didn't have anything to do with this

 9     investigation, but that's why --

10                THE COURT:   When you say "this investigation" --

11                MR. BONGIORNI:    Well, this investigation, I'm talking

12     about the investigation of Sergio Gomez Diaz --

13                THE COURT:   In the Dominican Republic.

14                MR. BONGIORNI:    -- in the Dominican Republic.

15                THE COURT:   He is thoroughly versed, however, in the

16     investigation, the initiation of the investigation of

17     Mr. Marte.

18                MR. BONGIORNI:    Sure.   Absolutely.

19                THE COURT:   He is versed -- he has personal knowledge

20     or collective knowledge, you know, gained by interactions with

21     other agents who worked on the investigation of Mr. Marte.       He

22     has personal knowledge in that regard or collective knowledge

23     with respect to the process that was followed in the

24     investigation of Mr. Marte, and the points at which he obtained

25     evidence or information that he included in the affidavit in
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 55 of 62
                                                                           55




 1     support of the Title 3 application.

 2               MR. BONGIORNI:     Absolutely, and I don't question that.

 3               THE COURT:    Right.   Okay.

 4               MR. BONGIORNI:     But the real issue here is we made a

 5     claim that we believe the investigation in the Dominican

 6     Republic that gave rise to the wiretap wasn't solely and

 7     exclusively a Dominican Republic invention or initiation, and

 8     that the United States Government was involved in it, and that

 9     there is evidence out there of the joint nature of that

10     investigation.

11               The problem with conducting a hearing in this regard

12     is that all of the questions that could be asked, Agent Barron

13     didn't ask.    He asked closed-end questions, did this happen,

14     did that happen, and that's simply insufficient, because as we

15     know, there are a whole host of other things that go on in

16     these investigations to which either he wasn't privy to or he

17     didn't ask the questions to find out the answers to.

18               So that's our --

19               THE COURT:    That's a position.

20               MR. BONGIORNI:     That's our position and --

21               THE COURT:    So the argument, essentially -- I just

22     want to make sure I understand it.

23               MR. BONGIORNI:     Sure.

24               THE COURT:    The argument is that the investigation

25     into Sergio Gomez Diaz, your contention is that the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 56 of 62
                                                                             56




 1     investigation in the Dominican Republic into Sergio Gomez Diaz,

 2     that that was a joint -- that may have been a joint

 3     investigation, and if that was a joint investigation, then you

 4     would be entitled on that basis to information related to the

 5     initiation of the wiretaps in the Dominican Republic of Sergio

 6     Gomez Diaz.

 7               Is that correct?

 8               MR. BONGIORNI:     Yes, and that's because without that,

 9     if that was the case, then Mr. Perez would be entitled to

10     challenge that communication in an American court.

11               THE COURT:    Mr. Perez was not intercepted.

12               MR. BONGIORNI:     Well, I'm not sure that

13     Mr. Perez was -- I'm not conceding that Mr. Perez was not

14     intercepted because while the Government provided me with a

15     copy, it did not provide me a copy of a return that would show

16     who the people were who were intercepted.        The only reason we

17     became aware of it is because the two conversations that were

18     intercepted of Mr. Marte that occurred, I think, on two days --

19               THE COURT:    But those are not included.       In other

20     words, there was no -- the affidavit in support of the

21     application to intercept Mr. Marte's communications does not

22     rely to any extent on any interception of Mr. Perez on the

23     Dominican wiretap.

24               MR. BONGIORNI:     No, it does not.

25               THE COURT:    Okay.
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 57 of 62
                                                                           57




 1               MR. BONGIORNI:     I just don't -- I just can't be sure

 2     whether or not Mr. Perez was intercepted or not because I don't

 3     have a return.

 4               THE COURT:    But what you're looking for is --

 5               MR. BONGIORNI:     What I'm asking the Court to do --

 6               THE COURT:    Okay.   That it seems fairly far aloof, but

 7     go on.

 8               MR. BONGIORNI:     Is that the process employed here is

 9     insufficient to be able to determine whether or not there was a

10     joint investigation.

11               So on behalf of Mr. Perez, every part of the hearsay

12     that Mr. Barron testified to, I would move to strike, and based

13     on if the Court would allow that motion, based on what's left,

14     it's really an insufficient record to say that there was no

15     evidence of joint venture, because the real evidence of joint

16     venture was never explored, was never gone into, and that, I

17     think, is as succinctly as I can put it.

18               THE COURT:    Okay.   Mr. O'Donnell?

19               MR. O'DONALD:     I have nothing else to add.

20               THE COURT:    You have nothing to add to that?

21               MR. O'DONALD:     Thank you.

22               THE COURT:    Alright.    Mr. Desroches?

23               MR. DESROCHES:     Thank you.

24               Your Honor, I would suggest that the defendant's

25     belief that the investigation that occurred in the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 58 of 62
                                                                            58




 1     Dominican Republic in 2015 was somehow guided or influenced by

 2     American authorities is abject speculation.         It's not supported

 3     by anything in the record.      The defendant can point to nothing

 4     in the hundreds of pages of affidavits that they're in

 5     possession of.    There's nothing that supports that assertion in

 6     the Dominican orders that they've been provided showing that

 7     these were judicially-authorized wiretaps.         There's nothing

 8     there except their stated belief that there was some

 9     involvement.

10               I would suggest to you what Special Agent Barron

11     testified to day were the results of his diligent investigation

12     into answering this Court's questions.        He selected the people

13     who may be involved who he believed would have the answers.

14     Division Counsel for DEA did the same for her counterparts and

15     they found that there was no involvement in the investigation.

16     Specifically, in pointing to the actors raised in Valdivia,

17     very importantly in this case I would suggest is the initiation

18     of the Dominican investigation occurring more than a year prior

19     to the investigation into Mr. Marte, and well before the

20     New York Division's investigation into an associate of

21     Sergio Gomez Diaz, and based on an event that occurred, the

22     seizure of the plane.     That was completely independent of

23     American intervention or American information.

24               Therefore, this investigation was organic to the

25     Dominican Republic, existed for well over a year prior to the
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 59 of 62
                                                                             59




 1     investigation of Mr. Marte.      There's no evidence whatsoever

 2     that the DEA or any American authority was involved in either

 3     investigation directing the wiretap.        In fact, you heard that

 4     the order was applied for in January 2015 by Dominican

 5     authorities.    I have no urging of this of the American

 6     authorities, and that was true throughout the course of the

 7     investigation.

 8               To the extent that there was communication between

 9     Dominican authorities and American authorities is simply

10     information sharing.     As Agent Barron testified to, that

11     occurred at the SOD in order to deconflict, make sure that

12     people weren't getting in each other's ways.

13               Therefore, your Honor, I would suggest that much of

14     the testimony, yes, was based on hearsay, but necessarily it is

15     within this Court's discretion to accept that testimony.         As

16     you heard, this was -- there's no, I would suggest, one person

17     to answer these questions, and I believe the agent testified

18     credibly when he said that these are the people he believed

19     would have the answers.

20               The defendant, even if -- and as I've argued

21     previously, if the defendant were able to make any showing, it

22     is their burden, and I'd suggest there hasn't been any showing.

23     But even if they were, it will then make some showing

24     whatsoever.    This is, as your Honor noted, very far removed

25     from anything that's material in this case.         It's as if they
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 60 of 62
                                                                             60




 1     want the -- they're arresting in their proposition that if the

 2     DEA was involved in an investigation, then we get everything

 3     that happened in the Dominican Republic without considering

 4     materiality, which is the next step.

 5               I would suggest, your Honor, because there's no

 6     evidence of a joint investigation, particularly pointing to the

 7     actors in Valdivia, that this defense motion should be denied,

 8     and I would ask the Court to do so.

 9               THE COURT:    Okay.   Anything further, Mr. Bongiorni?

10               MR. BONGIORNI:     Only that I dispute that it was our

11     burden.   I brought the motion originally because I said if the

12     information exists, it's exculpatory, and because under the

13     local rule which really broadens Brady.        So the burden is on

14     the Government to produce it.

15               THE COURT:    I think the cases pretty clearly say that

16     the burden is on the defendant to make a showing.

17               MR. BONGIORNI:     Well, I don't know if anybody

18     specifically, as we did, said if you look at the local rule,

19     and by extension, it's exculpatory if it casts doubt on the

20     admissibility of evidence, and if this in fact was a joint

21     investigation, then to that extent it does.

22               But I'll wait for the Court's ruling.        I appreciate

23     the fact that we had an evidentiary hearing.

24               THE COURT:    Okay.

25               MR. BONGIORNI:     As I said, I still believe that this
     Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 61 of 62
                                                                         61




 1     falls far short of the best way to ascertain the facts in this

 2     case.

 3                THE COURT:   What would you have suggested was the best

 4     was to ascertain the facts in this case?

 5                MR. BONGIORNI:    I think that part of the burden should

 6     have been on the Government to produce live witnesses subject

 7     to cross-examination.

 8                THE COURT:   Alright.    Anything else?

 9                MR. BONGIORNI:    Or to at least make a search for

10     documentary evidence that would -- in terms of financing and

11     things like that.

12                THE COURT:   Alright.    Anything else?

13                MR. O'DONALD:    No, your Honor.

14                THE COURT:   Thank you.

15                MR. O'DONALD:    Thank you, your Honor.

16                THE COURT:   Alright.    Thank you.

17                So, Mr. O'Donald, let me just talk to you briefly at

18     sidebar.

19

20                (End of unsealed portion of hearing.)

21

22

23

24

25
Case 3:16-cr-30044-MGM Document 562 Filed 08/28/18 Page 62 of 62
                                                                   62




                        C E R T I F I C A T I O N



            I, Karen M. Aveyard, Approved Federal Court

  Transcriber, do hereby certify that the foregoing transcript,

  consisting of 61 pages, is a correct transcript prepared to the

  best of my skill, knowledge and ability from the official

  digital sound recording of the proceedings in the

  above-entitled matter.




  /s/ Karen M. Aveyard

  Karen M. Aveyard



  August 28, 2018

  Date
